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                EXHIBIT F
      Case No. 21-CV-0817-TSZ

          (Exhibit F to Mann Declaration)
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15                      MR. RAVA:    Objection to the form of that

16   question.    Also, generally, I suppose to the relevance

17   of questioning in a federal case DMCA issues which are

18   -- have been removed --

19                      MR. MANN:    Okay.   Well --

20                      MR. RAVA:    You can go on and ask about

21   it.

22                      MR. MANN:    Well, thank you, Will.         I'm

23   glad you raised that issue.

24         Can we have an agreement that -- I'll be happy to

25   get off this topic if we can have an agreement that I
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                                                               Page 41
1    can conduct a further deposition of Bungie in the

2    arbitration.    You know, this is not my one shot.         If we

3    can have an agreement that we can do further discovery

4    in connection with the issues before the arbitrator,

5    I'll be happy to move on.

6                       MR. RAVA:    I think that we've had some

7    conversations already about the extent to which the

8    discovery in one can be used in the other.          I don't

9    believe that we've had this specific conversation, and I

10   think we're open to it.      I think you ought to -- you

11   should do what you think you need to do in this

12   deposition.

13        I'm just raising the issue that this is a federal

14   -- that this has been noted as a Federal Court

15   deposition.    And you all asked and we moved the DMCA

16   claims to JAMS, so we're there.

17        But you have the right to take depositions in the

18   JAMS case, too, as you know.

19                      MR. MANN:    Okay.   Good.    I think we're

20   in agreement.    What I'm trying to avoid here -- just --

21   and we might as well get this on the record, I have no

22   objection to discovery that is obtained in connection

23   with the Federal Court case being used in the

24   arbitration and vice versa.       I think that makes sense.

25   No sense in asking the same questions twice.
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                                                                Page 42
1         So that is what I understood you to ask me before,

2    and I'm in agreement on that.        So, as far as I'm

3    concerned, whatever discovery you get out of us in the

4    federal case can be used in the arbitration and vice

5    versa.

6         My question here is a little more subtle.             What I

7    don't want to have happen is saying that, oh, because by

8    taking this case, this 30(b)(6), in the federal case

9    that was also my one and only shot to get information

10   for the arbitration.

11        If we can have an agreement that -- and this goes

12   for you guys, too.     All witnesses called in connection

13   with the federal case may also be recalled in connection

14   with the arbitration.      If we have an agreement on that,

15   that's perfectly acceptable to me.

16                      MR. RAVA:    I don't think that -- right.

17   I think we're generally in agreement there.          So I think

18   we agree with you, that it doesn't make sense to ask the

19   same questions of the same witnesses in two different

20   proceedings, and that the -- and that the collection of

21   evidence in one proceeding against one witness does not

22   mean that you can't ask that same witness different

23   questions in the different proceedings.          So I --

24                      MR. MANN:    Okay.   Fair enough.     If we

25   can limit today's deposition to the issues that are
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                                                               Page 43
1    involved in the federal case without waiving my right to

2    conduct an additional deposition in the arbitration --

3    this applies bilaterally, of course.         If we can agree on

4    that, then, I can move on to other stuff.

5                       MR. RAVA:    I have no intent of arguing

6    that you do not have the right to depose -- to depose --

7    I do not intend to argue with Judge Cox, rather, that

8    you cannot take a deposition relating to DMCA issues in

9    the arbitration.

10                      MR. MANN:    Fair enough.

11                      MR. RAVA:    If you want to cover them

12   here, you can cover them here.

13                      MR. MANN:    Okay.   Well, I realize that,

14   you know, the practical problem is, maybe, Dr. Kaiser

15   could say, with some justification, hey, I wasn't

16   prepared on that stuff.      So I would rather talk to him

17   when he is.

18                      MR. RAVA:    I understand.

19                      MR. MANN:    I'm wondering, would now be a

20   good time for us to take our lunch break?          I'm done with

21   the circumvention stuff.       We can, then, bring in the

22   excluded parties.     We could come back in 45 minutes, an

23   hour, and we'll blast through the rest of this stuff.

24                      MR. RAVA:    Sounds like a good plan on

25   our end.   I could use a sandwich.
